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             United States Court of Appeals
                 for the Federal Circuit
                              ______________________

                          In re: CREEKVIEW IP LLC,
                                   Petitioner
                            ______________________

                                   2023-108
                            ______________________

      RESPONSE TO PETITION FOR WRIT OF MANDAMUS AND
             NOTICE OF DECLINATION TO DEFEND
      Pursuant to the Court’s Order dated December 2, 2022 (Dkt. 4), Defendant

Skullcandy Inc. (“Skullcandy”) hereby provides its response to the Petition for

Writ of Mandamus (Dkt. 2) filed by Petitioner Creekview IP LLC (“Creekview”).

Skullcandy declines to defend the order challenged in Creekview’s Petition.

      DATED this 9th day of December, 2022.

                                             TRASKBRITT, P.C.
                                             /s/ James C. Watson
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                      CERTIFICATE OF COMPLIANCE

Counsel certifies as follows:

      1. This brief complies with the type-volume limitations of Federal Rule of

Appellate Procedure 21(d) because this Notice contains 58 words.

      2. This brief complies with the typeface requirements of Rule 32(a)(5) of

the Federal Rules of Appellate Procedure and the type-style requirements of

Rule 32(a)(6) of the Federal Rules of Appellate Procedure because this brief has

been prepared in a proportionally spaced typeface using Microsoft Office Word

2019 in 14-point Times New Roman font.




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                           CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing with the Clerk of the

Court for the United States Court of Appeals for the Federal Circuit by using the

appellate CM/ECF system on December 9, 2022.

      A copy of the foregoing was served upon the following counsel of record by

electronic mail and upon the district court by UPS:

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Via UPS to the Court:

The Honorable Colm F. Connolly J. Caleb Boggs Federal Building 844 N. King
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                                              /s/ Colette V. Dubois
                                              Colette V. Dubois



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